Entered: October 30th, 2017
                              Case 17-19857      Doc 34-1    Filed 11/03/17    Page 1 of 2
Signed: October 27th, 2017

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                            Baltimore Division
                                                     *
              IN RE:                                 *
              GLENN DAVID SCHWEIGER                  *      Case No. 17-19857
                     Debtor                          *      Chapter 13
              *      *      *      *     *    *      *
              MIDFIRST BANK.                         *.
                     Movant                          *
                                                     *
              VS                                     *
              GLENN DAVID SCHWEIGER                  *
                     Respondent                      *
                                                     *
              *      *      *      *     *    *      *      *      *      *   * *
                       ORDER GRANTING RELIEF FROM AUTOMATIC AS TO THE
              PROPERTY KNOWN AS 4421 SHAMROCK AVENUE, BALTIMORE, MD 21267

                         Upon consideration of the foregoing Motion for Relief from the Automatic Stay,

              and after hearing, for good cause having been shown, and for the reasons stated on the

              record, it is by the United States Bankruptcy Court for the District of Maryland

                         ORDERED, that the automatic stay imposed by 11 U.S.C. Section 362 (a), be and

              the same is hereby, terminated to enable MidFirst Bank., and/or its successors and
             Case 17-19857        Doc 34-1     Filed 11/03/17    Page 2 of 2



assigns, to proceed with ratification of the foreclosure sale against the property known as

4421 Shamrock Avenue, Baltimore, MD 21206 and allow the successful purchaser

thereof to obtain possession of same; and it is further



CC;    Richard J. Rogers, Esq.                Michael P. Coyle, Esq
       Cohn, Goldberg & Deutsch, LLC          6700 Alexander Bell Drive
       600 Baltimore Avenue, Suite 208        Suite 200
       Towson, MD 21204                       Columbia MD 21046

       Nancy Spencer Grigsby, Trustee
       185 Admiral Cochrane Dr.
       Suite 240
       Annapolis, MD 21401

                                        END OF ORDER
